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                                                UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF FLORIDA

                                                CASE NO. 16-20893-CR-MORENO

  UNITED STATES OF AMERICA,

                 Plaintiff,
  vs.

  MONTY RAY GROW,

                 Defendant.
                                            /

            ORDER DENYING THIRD MOTION TO CONTINUE SENTENCING

         THIS CAUSE came before the Court upon defendant’s third motion to continue sentencing

  [D.E. #340] and the Court being fully advised in the premises, it is

         ORDERED and ADJUDGED that said motion to continue sentencing is DENIED. The

  Court assumes that an individual playing football as long as the defendant has done has indeed

  suffered mentally and physically and will allow counsel to argue the significance of that in

  imposing a sentence in this fraud case without the delay and expense of an expert. The sentencing

  hearing will remain set for MONDAY, April 5, 2021 at 10:00 a.m.

         DONE and ORDERED in Miami-Dade County Florida, this             25th day of March 2021.




                                                FEDERICO A. MORENO
                                                UNITED STATES DISTRICT JUDGE


  Copies furnished to:

  All counsel of record
